         Case 20-66891-bem Doc 1 Filed 06/02/20 Entered 06/02/20 10:58:52                                                                    Desc
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 Fill in this information to identify the case:                                       Filed in U.S. Bankruptcy Court
                                                                                              Atlanta, Georgia
 United Stales Bankruptoy Court far the:                                                      lo:rarAM
                                                  „                                         JUN - 2 2020
 NOr-IrVarrt                District of
                                          Mete)
 Case number iirk.nowny                                        Chapter.                                                              Ca'Check if thia. la'an'
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-individuals Filing for Bankruptcy                                                                                                04t20

If merespacels needed; attach a.separate sheet to thls.form.On the top .otany additional Pages, write the debtor's 'name and the Case
number(if known). For more Information, a eeparate document, instruetions foeBanktufitcy F* lo's= for.. Non4ndlidduels, is available.



 i.   Debtor's name                                        q -c) 0,0 rirI                                            4     UL2
                                                                             ,
 2. All other names debtor used
    in The lastli years.
      Include any assumed names,
      trade names, and doing. business
      as names



 3: Debtor's federal Employer
    Identification Number (EN).
                                              a
                                               .•
                                                           _

 4. Debtor's address                              Principal place of buainess                                Mailing address; if different.from principal place
                                                                                                             of busineas

                                                                         .L93064.          C't
                                                                                                             Number      Street'
                                                  Number       Street.


                                                                                                             P.O: Box
                                              (tPt4AGAMQ                   G4:1 ? .0.3, (41
                                               City                          State  :MP Code                 City                       :State           ZIP Code

                                                                                                             Location of principal assets, if different from
                                                                                                             principar place of business
                                                   FULI•jr 0 /N.
                                                  count;
                                                                                                             Number      Street.




                                                                                                             :City                       StE.O.          ZIP Code


  a. Debtor's website (1.1RL)




 Official lorm.20.1                                   Voluntary Petition for Non-IndiViduals Filing:for Bankruptcy                                page
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Debtor
              f114
                      Vrnpe                             sto   kinme—h-VS                         Case number Of tome


                                         Pt-Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6. Type of debtor
                                         0 Partnership (excluding LLP)
                                         U Other, Specify:

                                         A. Check one:
 7. Describe debtor's business
                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         0 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         O Railroad (as defined in 11 U.S.C. § 101(44))
                                         C3 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         0 Commodity Broker (as defined in 11 U.S.C, § 101(6))
                                         0 Clearing Bank (as defined In 11 U.S.C. § 781(3))
                                               None of the above


                                         B. Check all that apply:

                                         C3 Tax-exempt entity (as described In 26 U.S.C. § 501)
                                         0 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                         0 Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            rittol/www.uscourts.00v/four-dialt-national-association-nalcs-codes .



  8, Under which chapter of the          Check one:
     Bankruptcy Code is the
     debtor filing?                            Chapter?
                                          0 Chapter 9
                                         •     Chapter 11. Check all that apply:
     A debtor who is a "small business
     debtor" must check the first sub-                        CI The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     box, A debtor as defined in                                 aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     § 1182(1) who elects to proceed                             affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
     under subchapter V of chapter 11                            recent balance sheet, statement of operations, cash-flow statement, and federal
     (whether or not the debtor Is a                             Income tax return or if any of these documents do not exist, follow the procedure in
     "small business debtor") must                               11 U.S.C. §1116(1)(B).
     check the second sub-box.                                CI The debtor Is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                 noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                 less than 67,500,000, and it chooses to proceed under Subchapter V of
                                                                 Chapter 11, If this sub-box is selected, attach the most recent balance sheet,
                                                                 statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                 §1116(1)(B).

                                                                  A plan is being filed with this petition.

                                                              •   Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, In accordance with 11 U.S.C. § 1126(b).

                                                              O The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntaiy Petition for Non Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              O The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                             0 Chapter 12




  Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Dehtbr      Iczt\ -P("or 1--kj                                                 -s LL.Q.          Case number 0.1.lown)


 9. Were priorbankruptcy cases           •      No.
    filed by or against the debtor
                                             Li Yes., District •                             When                        Case ntiinber
    Within the last 8 years?
                                                                                                    •MM.! DD. / YVY
     If. more than 2 cases, attach a                                                                                     Case Minter
                                                        District..                           When
     separatellist.
                                                                                                    .MM! DDI,YYYY

 to. Are,any bankruptcy cases                    No.
     pending or being filed by a
     business partner or an                     Yes. Debtor                                                              Relationship
     affiliate.Ofthe debtor?                            District                                                         Vikten
                                                                                                                                         MM. I pp PlYrt
     List all cases, If More than 1,
     attach a separate list.                            Case number, if knoivn


 11. Why is the case filed in this           Check all that apply;
     district?
                                                 Debtor his had its doinioile, prindipal place of business, or prindipal assets hi this district for 180 days
                                                 irnmedlately preceding the date Of this politicn-Or for.e longer partasuch 180 daye than in any other
                                                 district..

                                             O Atan.krirptcy case concerning debtor's affiliate, general partner, or.partaership is pendingin this.district.


  11 Does the debtor own or have 0 No
                                   .
     possession of any real          0 Yes. Answer below for each property that needs iromediate*erition..Attich additional Sheetsifneeded.
     property or personal property              •     -
     that needt Immediate                  'Why does the property need Immediate attention? (Check elf that apply.)
     attention?
                                            0 it poses' oris alleged to pose a:threat of iMminent and identifiable hazard to public health Or safety.
                                                           Mat Is.the hazard?

                                                       CI It needs to be.physically Secured orproteeted Rem the weather:

                                                       o ltincludes perishable goods or assets. that couldAtilOkly deteriorate.or lose Value withioUt
                                                           .attention (forexample..livestock; seasonal goods, Meat, datry,•prodUee, or sectirities-related
                                                           -assets or other Optima):

                                                       Li 'Other



                                                       • Whatels the property?
                                                                                    Number          :Street



                                                                                    City.                                                State ZIP Cade


                                                       Is the property !heeled?
                                                       el No
                                                       CI yes..Insurance agency

                                                                     Contact name

                                                                     Phone •




1111.         Statistical and. admInietratlee information




   °hide! Form 201                                VolUntary Petition for Nari-IndividUals. Filing:for Bankruptcy                                     page 3
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Debtor                                                                                              case.ndriitier kin.TS




 13,Debtor's estimation of               Check one:
    available funds                     'IX:Funds:Will be 'available for distribution to unsecured creditors.
                                         0. After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        *149                                  D 1,0005;000                                   0 25,001-50;090
 14,Estimated number of                  0 50-99                              0 5,001-10,000                                .0 00,001:409,000,
    creditors                            0 100-199                            CI io,o0i-25,000.                              0 *rattan 10'0,000
                                         D .2%999

                                            $0450,000.                        U $1,000,001-910; million                         $500,000,60141. billion
  is. Estimated assets                      $50,0014100,000                    0. $10000,001-$50 million                        $.1,000,000;001410 billion
                                            $10.0,0614500,090                 '0 $5b,900,01.010 million                         $.1a,00tkocio;pot:$5o bllhn
                                         )6500,001-91. million                U $100,000,boi.W0 niilhlon                     ID More than $50.billion

                                        . 049450,060                          0 $1000,0014'10 million                        ZI 8500,000,00141 billion
  is. Estimated liabilities                 $50,001$100,000                   0 . 10,000,001$50 million                      IJ $1,000,000;001410.blillon
                                         04100,001.$500,000                   U .$50,000;001-$100 million                       $10,000,00,001$50 billion
                                         45500.001-$1 million                 U $100,000,001-$500 million.                   0 More than 950 billion




MI           Regeest for Relief, DeclarationcandSignatures:


  WARNING a 9ankruptc9 fraud is a serious.crime. Making a false statementln connection with a b.ankruptcy.case can resultin lines up to
            9560,000 or Imprisonment for uplo.20 years, or both. lAU,SC. §§ 152, 1341, 1519, and 3571.


  17   Declaration and signature of          The debtor requests:relief In accordanCe with the chapter, of title 11, United States Code,:sPecined in this
       authorized representative of
                                             petition.
       debtor
                                             I have been authorizedloge.this Petition tin behalf.of the debtor;

                                             I have examined the information in this petition and have a reasonable belief that the informaticin is true and
                                             correct;


                                         I declare under penalty ofperjury that the foragbingIs trUe-anci correCt.'

                                             Exeduted:on
                                                            mm (.0ii / YYYY

                                                     ..e/yyy-inci                                                           0 -are, k-LC
                                             Signature of aqtflorizitd.i,pres'entative..of4e0for•               Printed name '

                                             Title




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Debtor
              Thni°
                       Prnoeduj .-T4\qpc4-11-6.4.c.Vs LL
                       •
                                                                                C sae-number     jamir.e




 18. Signature of attorney
                                                                                          Date.
                                     Signedure orattomay fel-debtor                                        MM    DD /YYYY




                                    PrInterd nerne

                                    Firm name

                                    Number           Street

                                    Citir•                                                       State*          ZIP Code •


                                    Contact phone                                                Email address




                                    Barentlinbr                                                  §t4i,




  Official h?rm-201'                 Voluntary PetitioniorNerAndhildilals Fiting farBankruptcy                                • page.5
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CaIcon Mutual Mortgage LLC
3131 Camino Del Rio North
Suite 1680
San Diego, CA 92018



One Trust Home Loans
d/b/a CaIcon Wile! Mortgage LLC
3131Camino Del Rio North
Suite 1680
San Diego, CA 92018
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U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01262210 (AM) OF 06/02/2020


ITEM     CODE   CASE           QUANTITY                 AMOUNT    BY

   1     11IN   20-66891              1                $ 0.00     Currency
                Judge - unknown at time of receipt
                Debtor - LA PROPERTY INVESTMENTS LLC


TOTAL:                                                  $. 0.00


FROM: LA Property Investments LLC
      3034 Dogwood Drive
      Atlanta, GA 30354




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   Case Number: 20-66891                             Name:        LA Property Investments LLC                                  Chapter:           11

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

0 Individual - Series 100 Forms                                                               EZI Non-Individual - Series 200 Forms
 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                            Petition Deficiencies:
 0 Complete List of Creditors (names and addresses of all creditors)                            O Last 4 digits of SSN
 El Pro Se Affidavit (due within 7 days, signature must be notarized,                           0 Address 0 County
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                           O Type of Debtor
 El Signed Statement of SSN (due within 7 days)                                                 O Chapter
                                                                                                0 Nature of Debts
  MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                          O Statistical Estimates
  O Statement of Financial Affairs                                                              El Venue
  N Schedules: A/B D E/ F G H                                                                   0 Attorney Bar Number
  N Summary of Assets and Liabilities
  N Declaration About Debtor(s) Schedules
                                                                                                             Case filed via:
  O Attorney Disclosure of Compensation
                                                                                           0 Intake Counter by:
  O Petition Preparer's Notice, Declaration and Signature (Form 119)
                                                                                               El Attorney
  O Disclosure of Compensation of Petition Preparer (Form 2800)
                                                                                               O Debtor - verified ID
  El Chapter 13 Current Monthly Income
                                                                                               O Other - copy of ID:
  O Chapter 7 Current Monthly Income
  O Chapter 11 Current Monthly Income                                                      El Mailed by:
  El Certificate of Credit Counseling (Individuals only)                                       El Attorney
  O Pay Advices (Individuals only) (2 Months)                                                  El Debtor
  O Chapter 13 Plan, complete with signatures (local form)                                     El Other:
  O Corporate Resolution (Business Ch. 7 & 11)
                                                                                           N Email or Fax [Pursuant to General Order 34-2020,
  Ch.11 Business                                                                           this petition was received for filing via email or fax.]
  O 20 Largest Unsecured Creditors                                                         Temarcus Allison - Owner
  • List of Equity Security Holders                                                                    History of Case Association
  El Small Business - Balance Sheet                                                        Prior cases within 2 years: none
  El Small Business - Statement of Operations
  O Small Business - Cash Flow Statement
  O Small Business - Federal Tax Returns                                                   Signature:
                                                                                           Acknowledgment of receipt of Deficiency Notice
  MISSING DOCUMENTS DUE WITHIN 30 DAYS
  El Statement of Intent — Ch. 7 (Individuals only)

Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.gov/services-forms/banIcruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
       O Paid $ 0     2g-Order Granting          LII 3g-Order Granting 10-day (initial payment of $_____ due within 10 days)
         ▪   2d-Order Denying with filing fee of $_____ due within 10 days                  0 IFP filed (Ch.7 Individuals Only)
         O   Order Regarding Unpaid Case Filing Fee.

                  You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only) to the address below.
                           All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                     **Failure to Comply may result in the dismissal of your case.**
                                                        UNITED STATES BANKRUPTCY COURT
                                                          75 Ted Turner Drive, SW, Room 1340
                                                                 Atlanta, Georgia 30303
                                                                     404-215-1000
Intake Clerk:       Mezon                 Date: 6/2/20                        Case Opener:                                            Date:
